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UNITED STATES DISTRICT COURT CENTRAL DIST, OF CAL
CENTRAL DISTRICT OF CALIFORNIA

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CASE NUMBER:
UNITED STATES OF AMERICA aeEE
PLAINTIFF
V.
SHOLA YUSUF ADEDIJI REPORT COMMENCING CRIMINAL
USMS# 29815-5090 DEFENDANT TEER END ON

 

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1.

2.

10.

11.

12.

14.

Date and time of arrest: 02/15/2023 at 0900 AM [)PM

 

The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
any other preliminary proceeding: [] Yes No

Defendant is in U.S. Marshals Service lock-up (in this court building): Yes [No
Charges under which defendant has been booked:

18 U.S.C 1349 Conspiracy to Commit Wire Fraud

 

Offense charged is a: Felony ( Minor Offense ["] Petty Offense () Other Misdemeanor

Interpreter Required: [%]No [Yes Language: N/A

 

Year of Birth: 1983

Defendant has retained counsel: No
C Yes Name: N/A Phone Number: N/A

 

 

Name of Pretrial Services Officer notified: DUTY OFFICER

 

Remarks (if any): N/A

 

 

 

 

 

 

Name: H. York (please print)

Office Phone Number: 213-620-7676 13. Agency: USMS

Signature: Yf 15. Date: 2/15/2023
"er

 

CR-64 (05/18) REPORT COMMENCING CRIMINAL ACTION
